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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 STANISLAW KOCZWARA,
                        Plaintiff,                  20-CV-2579 (BCM)
                 -against-                          ORDER
 NATIONWIDE GENERAL INSURANCE
 COMPANY,
                        Respondent.

BARBARA MOSES, United States Magistrate Judge.

       The Court has received an email inquiry (attached to this Order) from one Michal

Pankowski, who is neither a party nor counsel to a party in this action, but who (as he explains)

assisted pro se plaintiff Stanislaw Koczwara "to navigate the complexities of the legal process in

this matter." Mr. Pankowski requests a status update, stating that despite their best efforts, he and

plaintiff Koczwara "have not received any callback or information on the status of the case" since

July 2021.

       In an Order dated April 26, 2021 (4/26/21 Order) (Dkt. 42), the Court set a summary

judgment briefing schedule and reminded plaintiff Koczwara that if he "wishes to changes his

address of record on the docket of this Court, he must promptly file a Notice of Change of Address

form[.]". 4/26/21 Order at 1. That Order was sent to plaintiff Koczwara's address of record, which

was (and is) on Apollo Avenue, Brooklyn, New York. (See Dkt. 38.) A copy of the 4/26/21 Order

was also sent to another address, care of "MP Business Consulting," on Manhattan Avenue,

Brooklyn, New York, which plaintiff provided to the Court during a telephonic status conference

held that day.

       The Court has reason to believe that plaintiff received the 4/26/21 Order, in that he

complied with the summary judgment briefing schedule set forth therein. However, plaintiff never
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filed a Notice of Change of Address form or otherwise acted to update his address of record in this

action.

          On May 10, 2022, the Court issued its Opinion and Order granting defendant's motion for

summary judgment and denying plaintiff's cross-motion for summary judgment. (Dkt. 62.) The

Clerk of Court entered judgment the following day. (Dkt. 63.) The Opinion and Order, along with

the Clerk's Judgment, were mailed on May 11, 2022 to plaintiff's address of record on Apollo

Avenue. Additionally, the Opinion and Order, the Judgment, and all other filings in this action

were posted to the Court's electronic docket, which is publicly available at the Courthouse, or

online through PACER (https://pacer.uscourts.gov/), as well as through various commercial

databases. See, e.g., https://casetext.com/case/koczwara-v-nationwide-gen-ins-co-4.

          Plaintiff and Mr. Pankowski are reminded that the pro se plaintiff must personally sign any

letters, motions, or other submissions made to the Court on his behalf. The Court cannot act upon

correspondence from a pro se plaintiff's friend, tax consultant, or other informal representative.

          Plaintiff and Mr. Pankowski are further reminded that this Court does not accept letters,

motions, or other submission via email. See Moses Ind. Prac. § 1(a). A pro se plaintiff may file

documents with the Court by using any of the following methods:

                 a. Drop off the document in the drop box located in the lobby of the U.S.

                     Courthouse at 500 Pearl Street, New York, NY 10007.

                 b. Mail or deliver the documents to the Pro Se Intake Unit in Room 105 in the

                     Thurgood Marshall Courthouse, 40 Foley Square, New York, NY 10007. The

                     Pro Se Intake Unit (telephone (212) 805-0175) may be of assistance to pro se

                     litigants in connection with court procedures, but cannot provide legal advice.




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               c. Email the documents to Temporary_Pro_Se_Filing@nysd.uscourts.gov.

                    Instructions for filing documents by email may be found on the Court's website

                    at nysd.uscourts.gov/forms/instructions-filing-documents-email.

       As a courtesy, the Clerk of Court is respectfully directed to mail (i) this Order, (ii) the

Opinion and Order at Dkt. 62, and (iii) the Clerk's Judgment at Dkt. 63 to plaintiff at his address

of record and to:

       Stanislaw Koczwara
       c/o MP Business Consulting
       896 Manhattan Avenue, Room 27
       Brooklyn, New York 11222

Dated: New York, New York
       August 18, 2023                       SO ORDERED.



                                             _______________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge




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Moses NYSD Chambers

From:                Michal Pankowski <michal@mpankowski.com>
Sent:                Thursday, August 17, 2023 12:12 PM
To:                  Moses NYSD Chambers
Cc:                  Temporary Pro Se Filing NYSD
Subject:             RE: 1:20-cv-02579-BCM



CAUTION - EXTERNAL:


               RE:     Stanislaw Koczwara v. Nationwide General Insurance Company
                       Civil Action No.:   1:20-cv-02579-BCM


Dear Judge Moses,


        I am writing to you in my capacity as Michal Pankowski, the proprietor of a consulting and taxation
business based in Greenpoint, Brooklyn. I am reaching out to you regarding a matter that concerns my friend and
client, Mr. Stanislaw Koczwara, who sought my assistance in his case against an insurance company in April of
2021.
        It is worth noting that Mr. Koczwara approached me for help with court documents, email correspondence,
and general support in the matter. While I was not representing him in a legal capacity, I was helping him to
navigate the complexities of the legal process. All correspondence and letters related to the case were directed to
my office, and the Court was duly informed of my involvement.
        I regret to inform you that despite our best efforts, we have not received any updates on the case since
July of 2021. Despite numerous calls to the Court office, we have not received any callback or information on the
status of the case. Therefore, I am writing to request a status update on behalf of Mr. Koczwara.
        In light of the circumstances, I would be grateful if you could provide us with an update on the matter at
your earliest convenience. Your assistance in this regard would be much appreciated.

Thank you for your attention to this matter.


Sincerely,
Michal Pankowski

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




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